            Case 1:11-cv-02127-RBP Document 9 Filed 01/30/12 Page 1 of 2                            FILED
                                                                                           2012 Jan-30 PM 01:05
                                                                                           U.S. DISTRICT COURT
                                                                                               N.D. OF ALABAMA




                            UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ALABAMA
                                  EASTERN DIVISION

KENNETH CUNNINGHAM,                                  )
                                                     )
       Plaintiff,                                    )
                                                     )            Case No.: 1:11-cv-2127-RBP
       v.                                            )
                                                     )
CAWLEY & BERGMANN, LLP f/k/a                         )
BRONSON CAWLEY & BERGMANN, LLP,                      )
                                                     )
       Defendant.                                    )


                                   NOTICE OF SETTLEMENT


       NOW COMES the Plaintiff, KENNETH CUNNINGHAM, by and through the

undersigned counsel and hereby informs the court that a settlement of the present matter has

been reached and is in the process of finalizing settlement, which Plaintiff anticipates will be

finalized within the next 30 days.

       Plaintiff therefore requests that this honorable court vacate all dates currently set on

calendar for the present matter.

                                       Respectfully Submitted,


DATED: January 30, 2012
                                     By: /s/ M. Brandon Walker
                                           M. Brandon Walker
                                           Walker McMullan, LLC
                                           242 West Valley Avenue
                                           Suite 312
                                           Birmingham, Alabama 35209


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                                     NOTICE OF SETTLEMENT
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                                CERTIFICATE OF SERVICE

       I hereby certify that on January 30, 2012, I electronically filed the foregoing Notice of

Settlement with the Clerk of the Court by using the CM/ECF System. A copy of said Notice was

electronically submitted to all parties by the Court’s CM/ECF system.



                                                             s/ M. Brandon Walker____
                                                             M. Brandon Walker
                                                             Attorney for Plaintiff




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                                  NOTICE OF SETTLEMENT
